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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY

  RONALD KOONS, et al.                              )
                                                    )   Civil Action No. 1:22-cv-07464-
                          Plaintiffs                )             RMB-AMD
                                                    )
       v.                                           )          CIVIL ACTION
                                                    )
  WILLIAM REYNOLDS, et al.                          )   (ELECTRONICALLY FILED)
                                                    )
                          Defendants                )
                                                    )
  -----------------------------------------------   )   CONSOLIDATED ACTIONS
                                                    )
  AARON SIEGEL, et al.                              )
                                                    )
                         Plaintiffs,                )
                                                    )
         v.
                                                    )
  MATTHEW PLATKIN, et al.                           )
                                                    )
                         Defendants.                )



     DECLARATION OF DANIEL L. SCHMUTTER IN SUPPORT OF
     SIEGEL PLAINTIFFS’ MOTION FOR LEAVE TO FILE
     ADDITIONAL SUPPLEMENTAL PAPERS IN FURTHER SUPPORT
     OFTHEIR MOTION FOR PRELIMINARY INJUNCTION


         1.      I, Daniel L. Schmutter, am an attorney of the State of New Jersey and

  a member of Hartman & Winnicki, P.C., attorneys of record for the Siegel Plaintiffs

  in the above-titled action. I have personal knowledge of the facts set forth herein

  and, if called and sworn as a witness, could and would testify competently thereto. I
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  submit this certification in support of Siegel Plaintiffs’ Motion for leave to file

  additional supplemental papers in further support of their motion for a preliminary

  injunction.

        Division of Gaming Enforcement - OPRA

        2.      Late yesterday evening I learned of documents that were produced to a

  member of Plaintiff Association of New Jersey Rifle & Pistol Clubs, Inc., Kenneth

  Armellino, by the New Jersey Division of Gaming Enforcement (the “Division”)

  pursuant to New Jersey’s Open Public Records Act.

        3.      The documents produced include emails between Gaming Enforcement

  Director David Rebuck and (1) the attorney for the Casino Association of New

  Jersey regarding as of then proposed language regarding a handgun prohibition bny

  the casinos and (2) the General Counsel of Resorts Casino Hotel.

        4.      These emails demonstrate clear cooperation and coordination between

  the Division and the casinos with respect to the so-called “independent” prohibition

  of handgun carry by the casinos themselves.

        5.      These emails plainly undermine Defendants’ position on standing with

  respect to Chapter 131 Section 7(a)(18) and only came to my attention late last night.

  Therefore Siegel Plaintiffs respectfully request that the Court allow this late filing.
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         Filming Locations - The Walking Dead at the Monmouth Mall

         6.      The Third Supplemental Declaration of Plaintiff Jason Cook reveals

  that, just this past Saturday, he inadvertently came upon a film set for The Walking

  Dead at the Monmouth Mall in Middletown New Jersey. In light of Defendants’

  steadfast attempts to defeat standing and avoid a decision on the merits of Chapter

  131 Section 7(a)(23), this event several days ago has bearing on Defendants’

  position. Therefore, Siegel Plaintiffs respectfully request that the Court allow this

  late filing.

         I declare under penalty of perjury that the foregoing is true and correct.

  Executed within the United States.



         s/ Daniel L .Schmutter                March 16, 2023
         Daniel L. Schmutter                   Date
